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3
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4    Fresno, California 93721
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7
                        IN THE UNITED STATES DISTRICT COURT FOR THE
8

9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA, ) Case No. 1:05-cr-00240 AWI
12                                 )
                       Plaintiff,  ) STIPULATION AND ORDER
13         v.                      ) TO CONTINUE STATUS
                                   )
14                                 )
                                   ) DATE: July 30, 2007
15   JUAN GONZALES, et al.          ) TIME: 9:00 a.m.
16                                 )
                       Defendant.  ) Honorable Anthony W. Ishii
17   ______________________________)

18
            IT IS HEREBY STIPULATED by and between the parties hereto and through their
19

20   attorneys of record that the status conference presently scheduled before the Honorable Anthony

21   W. Ishii for June 25, 2007 at 9:00 a.m. be continued to July 30, 2007 at 9:00 a.m.
22          All parties herein, through their respective counsel have been contacted regarding the
23
     requested continuance and concur with this request.
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1           The parties agree that the resulting period of delay occurring between June 30, 2007 and
2    the date for the status conference, shall continue to be excluded for speedy trial purposes
3
     pursuant to 18 U.S.C. § 3161 (h)(1)(F).
4
            IT IS SO STIPULATED:
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6
     Dated: June 14, 2007                          McGregor W. Scott
7                                                  United States Attorney

8                                                  /s/ Kathleen A. Servatius
                                                   By: KATHLEEN A. SERVATIUS
9                                                      Assistant U.S. Attorney
10

11   Dated: June 14, 2007                          /s/ Daniel Bacon
                                                   DANIEL BACON
12                                                 Attorney for Defendant
                                                   JUAN GONZALES
13

14   Dated: June 14, 2007                          /s/ Stephen Quade
                                                   STEPHEN QUADE
15                                                 Attorney for Defendant
                                                   ANNETTE RAMIREZ SALAZAR
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               Case 1:05-cr-00240-AWI Document 75 Filed 06/15/07 Page 3 of 3


1                                                ORDER
2           Upon the stipulation of the parties and good cause appearing therefore,
3
            IT IS HEREBY ORDERED that the status conference presently set for
4
     June 25, 2007 at 9:00 a.m. is continued until July 30, 2007 at 9:00 a.m. to be heard before the
5
     Honorable Anthony W. Ishii, Courtroom 2.
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7    IT IS SO ORDERED.

8    Dated:    June 15, 2007                           /s/ Anthony W. Ishii
     0m8i78                                      UNITED STATES DISTRICT JUDGE
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